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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

JENNIFER OSSOLA, JOETTA                ) Case No. 1:13-cv-04836
CALLENTINE and SCOTT DOLEMBA,)
on behalf of themselves and all others )
similarly situated,                    )
                                       ) FINAL JUDGMENT AND ORDER
              Plaintiffs,
                                       ) OF DISMISSAL
      vs.                              )
                                       )
AMERICAN EXPRESS COMPANY, )
AMERICAN EXPRESS CENTURION )
BANK, and WEST ASSET                   )
MANAGEMENT, INC.,
                                       )
              Defendant.               )
                                       )
                                       )
                                       )


        The Court having held a Final Approval Hearing on November 30, 2016 at

1:30 p.m., notice of the Final Approval Hearing having been duly given in

accordance with this Court’s Order (1) Conditionally Certifying A Telemarketing

Settlement, (2) Preliminarily Approving Class Action Telemarketing Settlement,

(3) Approving Telemarketing Settlement Notice Plan, and (4) Setting Final

Approval Hearing for Telemarketing Settlement (“Preliminary Approval Order”),

and having considered all matters submitted to it at the Final Approval Hearing and




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otherwise, and finding no just reason for delay in entry of this Final Judgment and

good cause appearing therefore,


        It is hereby ORDERED, ADJUDGED AND DECREED as follows:


        1.    The Telemarketing Settlement Agreement and Release, including its

exhibits, fully executed on June 30, 2016 (the “Telemarketing Agreement”), and

the definitions contained therein are incorporated by reference in this Order. The

terms of this Court’s Preliminary Approval Order (Dkt. No. 357) are also

incorporated by reference in this Order.


        2.    This Court has jurisdiction over the subject matter of this Action and

over the Parties pursuant to 28 U.S.C. § 1332, including all members of the

Telemarketing Settlement Class certified for settlement purposes in this Court’s

Preliminary Approval Order.


        3.    The Telemarketing Settlement Class means all persons nationwide

within the United States who, on or after July 3, 2009 through March 15, 2016,

received a telemarketing call from Alorica Inc. (or its agents or affiliates) on behalf

of American Express, in connection with the marketing of American Express small

business charge and/or credit cards to potential customers, to a cellular telephone

number through the use of an automatic telephone dialing system, predictive dialer

and/or an artificial or prerecorded voice. Excluded from the Telemarketing

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Settlement Class are the Judge to whom the Action is assigned and any member of

the Judge’s staff and immediate family, as well as all persons who are validly

excluded from the Telemarketing Settlement Class. All Persons who validly

excluded themselves from the Telemarketing Settlement Class are not

Telemarketing Settlement Class Members as that term is defined and used herein,

and shall not be bound by this Final Approval Order or any release provided

herein. A list identifying all Persons who validly excluded themselves from the

Telemarketing Settlement Class has been filed under seal with the Court (see Dkt.

No. 370).


        4.    The Court notes that there were no objections to the settlement

agreement filed by class members and that the Telemarketing Settlement, taken as

a whole, is fair, reasonable and adequate to all concerned.


        5.    The Court hereby finds that the Telemarketing Agreement is the

product of arm’s-length settlement negotiations between Plaintiff and Class

Counsel, on the one hand, and American Express and its respective counsel on the

other hand.


        6.    The Court hereby finds and concludes that Class Notice was

disseminated to members of the Telemarketing Settlement Class in accordance




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with the terms set forth in Section III.E of the Telemarketing Agreement and this

Court’s Preliminary Approval Order (Dkt. No. 357).


        7.      The Court hereby finds and concludes that the Notice Program and

claims submission procedures fully satisfy Rule 23 of the Federal Rules of Civil

Procedure and the requirements of due process, and constitute the best notice

practicable under the circumstances. The Court further finds that the Notice

Program provided individual notice to all members of the Telemarketing

Settlement Class who could be identified through reasonable effort and supports

the Court’s exercise of jurisdiction over the Telemarketing Settlement Class as

contemplated in the Telemarketing Settlement and this Order.


        8.      This Court hereby finds and concludes that the notice provided by

American Express pursuant to 28 U.S.C. § 1715 fully satisfied the requirements of

that statute.


        9.      The Court finds that the Telemarketing Settlement’s terms constitute,

in all respects, a fair, reasonable, and adequate settlement as to all Telemarketing

Settlement Class Members in accordance with Rule 23 of the Federal Rules of

Civil Procedure, and directs its consummation pursuant to its terms and conditions.

Plaintiff, in her role as Class Representative, and Class Counsel adequately

represented the Telemarketing Settlement Class for purposes of entering into and


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implementing the Telemarketing Agreement. Accordingly, the Telemarketing

Agreement is hereby finally approved in all respects, and the Parties are hereby

directed to perform its terms. The Parties and Telemarketing Settlement Class

Members who were not excluded from the Telemarketing Settlement Class are

bound by the terms and conditions of the Telemarketing Agreement.


        10.   The Court hereby finds that the Settlement Class Members have been

adequately represented by Class Counsel. The Court specifically approves Class

Counsel’s application for attorneys’ fees of $2,750,000 and costs of $19,380.19,

which the Court finds to be fair and reasonable. Accordingly, Class Counsel is

hereby awarded $2,769,380.19, such amounts to be paid from the Telemarketing

Settlement Fund pursuant to and in the manner provided by the terms of the

Telemarketing Agreement.


        11.   The Court finds the payment of a service award in the amount of

$10,000 to the Telemarketing Settlement Class Representative Joetta Callentine to

be fair and reasonable. Accordingly, the Telemarketing Settlement Class

Representative is hereby awarded $10,000, such amounts to be paid from the

Telemarketing Settlement Fund pursuant to and in the manner provided by the

terms of the Telemarketing Agreement.




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        12.   The Telemarketing Settlement Class described in paragraph 3 above is

hereby finally certified, solely for purposes of effectuating the Telemarketing

Settlement and this Order and Final Judgment.


        13.   The requirements of Rule 23(a) and (b)(3) have been satisfied for

settlement purposes, for the reasons set forth herein. The Telemarketing

Settlement Class is so numerous that joinder of all members is impracticable; there

are questions of law and fact common to the class; the claims of the Class

Representative are typical of the claims of the Telemarketing Settlement Class; the

Class Representative will fairly and adequately protect the interests of the class;

the questions of law or fact common to class members predominate over any

questions affecting only individual members; and a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy between

the Telemarketing Settlement Class Members and American Express.


        14.   This Court hereby dismisses, with prejudice, without costs to any

party, except as expressly provided for in the Agreement, this Action.


        15.   The Claims Administrator is directed to distribute the consideration to

the Telemarketing Settlement Class pursuant to the terms of the Telemarketing

Agreement.




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        16.   Plaintiff and each and every one of the Telemarketing Settlement

Class Members unconditionally, fully, and finally release and forever discharge the

Released Parties from the Released Claims as provided for in the Telemarketing

Agreement. In addition, any rights of the Telemarketing Settlement Class

Representatives and each and every one of the Telemarketing Settlement Class

Members to the protections afforded under Section 1542 of the California Civil

Code and/or any other similar, comparable, or equivalent laws, are terminated.


        17.   Each and every Telemarketing Settlement Class Member, and any

person actually or purportedly acting on behalf of any Telemarketing Settlement

Class Member(s), is hereby permanently barred and enjoined from commencing,

instituting, continuing, pursuing, maintaining, prosecuting, or enforcing any

Released Claims (including, without limitation, in any individual, class or putative

class, representative or other action or proceeding), directly or indirectly, in any

judicial, administrative, arbitral, or other forum, against the Released Parties. This

permanent bar and injunction is necessary to protect and effectuate the

Telemarketing Agreement, this Final Judgment and Order of Dismissal, and this

Court’s authority to effectuate the Telemarketing Agreement, and is ordered in aid

of this Court’s jurisdiction and to protect its judgments.




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        18.   The Telemarketing Agreement (including, without limitation, its

exhibits), and any and all negotiations, documents, and discussions associated with

it, shall not be deemed or construed to be an admission or evidence of any

violation of any statute, law, rule, regulation, or principle of common law or

equity, of any liability or wrongdoing, by American Express, or of the truth of any

of the claims asserted by Plaintiff, and evidence relating to the Telemarketing

Agreement shall not be discoverable or used, directly or indirectly, in any way,

whether in this Action or in any other action or proceeding, except for purposes of

enforcing the terms and conditions of the Telemarketing Agreement, the

Preliminary Approval Order, and/or this Order.


        19.   In the event that any provision of the Telemarketing Settlement or this

Final Judgment and Order of Dismissal is asserted by American Express or Alorica

as a defense in whole or in part to any claim, or otherwise asserted (including,

without limitation, as a basis for a stay) in any other suit, action, or proceeding

brought by a Telemarketing Settlement Class Member or any person actually or

purportedly acting on behalf of any Telemarketing Settlement Class Member(s),

that suit, action or other proceeding shall be immediately stayed and enjoined until

this Court or the court or tribunal in which the claim is pending has determined any

issues related to such defense or assertion. Solely for purposes of such suit, action,

or other proceeding, to the fullest extent they may effectively do so under

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applicable law, the Parties irrevocably waive and agree not to assert, by way of

motion, as a defense or otherwise, any claim or objection that they are not subject

to the jurisdiction of the Court, or that the Court is, in any way, an improper venue

or an inconvenient forum. These provisions are necessary to protect the

Telemarketing Agreement, this Order and this Court’s authority to effectuate the

Telemarketing Settlement, and are ordered in aid of this Court’s jurisdiction and to

protect its judgment.


        20.   By incorporating the Telemarketing Agreement and its terms herein,

the Court determines that this Final Judgment complies in all respects with Federal

Rule of Civil Procedure 65(d)(1).


        21.   Finding that there is no just reason for delay, the Court orders that this

Final Judgment and Order of Dismissal shall constitute a final judgment pursuant

to Rule 54 of the Federal Rules of Civil Procedure. The Court orders that, upon

the Effective Date, the Telemarketing Settlement shall be the exclusive remedy for

any and all Released Claims of Plaintiff and each and every Telemarketing

Settlement Class Member. The Clerk of the Court is directed to enter this Order on

the docket forthwith.


        22.   If an appeal, writ proceeding or other challenge is filed as to this Final

Approval Order, and if thereafter the Final Approval Order is not ultimately


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upheld, all orders entered, stipulations made and releases delivered in connection

herewith, or in the Telemarketing Settlement or in connection therewith, shall be

null and void to the extent provided by and in accordance with the Telemarketing

Settlement.


        23.   Without further order of the Court, the Parties may agree to

reasonably necessary extensions of time to carry out any of the provisions of the

Telemarketing Settlement.


        IT IS SO ORDERED.


Dated:

12/2/16                               ___________________________________
                                      Hon. John Z. Lee
                                      United States District Judge




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